USCA4 Appeal: 07-4115   Doc: 17   Filed: 02/15/2007   Pg: 1 of 2




                                    Document 1
USCA4 Appeal: 07-4115           Doc: 17             Filed: 02/15/2007             Pg: 2 of 2


                                     UNITED STATES COURT OF APPEALS
                                                    FOR THE FOURTH CIRCUIT
                                          Lewis F. Powell, Jr. United States Courthouse Annex
                                                    1100 E. Main Street, Suite 501
                                                   Richmond, Virginia 23219-3517

    Patricia S. Connor                                  www.ca4.uscourts.gov                      Telephone
           Clerk                                                                                (804) 916-2700




                                                  February 15, 2007

              Alan Dexter Bowman, Esq.
              Suite 105
              Gateway One
              Newark, NJ 07102



                         Re: 07-4062 US v. Lanora N. Ali
                                     8:04-cr-00235-RWT



            Dear Mr. Bowman:

                   This office is in receipt of your recent notification that
              you have been retained as counsel for purposes of this appeal. In
              light of appellant having retained counsel, the Court must determine
              whether appellant still qualifies for indigent status. Accordingly,
              please have appellant identify the source of funds being used to pay
              counsel. Please provide this information in written form to this
              office on or before 3/2/07.




                                                                Yours truly,

                                                                PATRICIA S. CONNOR
                                                                      Clerk


                                                                    /s/ Sharon A. Wiley
                                                                By: ________________________
                                                                     Deputy Clerk


              Enclosure(s)

              cc:        Deborah A. Johnston
                         Bonnie S. Greenberg
                         Harry D. McKnett
